                      EXHIBIT 5




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                                                U. S. Department of Justice

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                                                   March 8, 2020

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Robert S. Wolf
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The Chrysler Building
405 Lexington Ave., 12th Floor
New York, NY 10174-1299
(212) 554-7825


RE:     United States v. LEONID TEYF - Disclosure of benefits to government witnesses

Sirs,
      As to witness D. Strogii, no promises of any kind have been made for his
cooperation. Minimal payments, to include travel expenses for interviews in North
Carolina ($1107.02), and reimbursement of lost wages and for general services
($20,186.02) have been paid him, for a total of $21,293.04.
        Thank you,


                                         ROBERT J. HIGDON, JR.
                                         United States Attorney



                                         JASON M. KELLHOFER
                                         BARBARA D. KOCHER
                                         Assistant United States Attorneys
                                         Criminal Division




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